Case 1:25-cv-00011-MJT         Document 44-2           Filed 04/24/25        Page 1 of 2 PageID #: 283



  1   ROB BONTA, CA State Bar No. 202668
      Attorney General of California
  2   R. MATTHEW WISE, CA State Bar No. 238485
      Supervising Deputy Attorney General
  3   WILL SETRAKIAN, CA State Bar No. 335045
      Deputy Attorney General
  4    300 South Spring Street, Suite 1702
       Los Angeles, CA 90013-1230
  5    Telephone: (213) 269-6668
       E-mail: William.Setrakian@doj.ca.gov
  6   Attorneys for Attorney General Rob Bonta

  7

  8                              IN THE UNITED STATES DISTRICT COURT
  9                                FOR THE EASTERN DISTRICT OF TEXAS
 10

 11
      EXXON MOBIL CORPORATION,                                  1:25-cv-11-MJT
 12
                                                  Plaintiff, REQUEST FOR JUDICIAL NOTICE IN
 13                                                          SUPPORT OF DEFENDANT
                      v.                                     ATTORNEY GENERAL ROB BONTA’S
 14                                                          MOTION TO DISMISS
 15   ROBERT ANDRES BONTA A.K.A. ROB                            Judge:        Hon. Michael Truncale
      BONTA, IN HIS INDIVIDUAL                                  Action Filed: January 6, 2025
 16   CAPACITY, ET AL.,
 17                                           Defendants.
 18
                                      REQUEST FOR JUDICIAL NOTICE
 19
            Defendant Attorney General Rob Bonta requests that the Court judicially notice one
 20
      pending state-court action and the contents of two publicly available websites. “[B]y taking
 21
      judicial notice of facts not subject to reasonable dispute, a Court does not convert a motion to
 22
      dismiss into a motion for summary judgment.” Am. C.R. Union v. Martinez-Rivera, 166 F. Supp.
 23
      3d 779, 791 (W.D. Tex. 2015) (citing Norris v. Hearst Tr., 500 F.3d 454, 461 n. 9 (5th Cir.
 24
      2007)).
 25
            “A court may take judicial notice of public records, including pleadings filed in state court.”
 26
      Bank of New York Mellon v. Riley, 2020 WL 10229085, at *3 & n.5 (E.D. Tex. Feb. 12, 2020).
 27
      Here, the Court should judicially notice the People of the State of California’s lawsuit against
 28
                                                            1
       Request for Judicial Notice in Support of Defendant Attorney General Rob Bonta’s Motion to Dismiss (1:25-cv-11-
                                                                                                                MJT)
Case 1:25-cv-00011-MJT         Document 44-2           Filed 04/24/25        Page 2 of 2 PageID #: 284



  1   ExxonMobil, filed in San Francisco County Superior Court on September 23, 2024, which is

  2   attached to the accompanying Declaration of Robert William Setrakian as Exhibit A.

  3   ExxonMobil cites this suit repeatedly in its complaint. Compl. at ¶ 76.

  4         A court may judicially notice content on social-media sites as information “not subject to

  5   reasonable dispute because it . . . can be accurately and readily determined from sources whose

  6   accuracy cannot reasonably be questioned. Fed. R. Evid. 201(b), (b)(2); Boyd v. Canadian Indep.

  7   Sch. Dist., 2022 WL 837933, at *1 (N.D. Tex. Feb. 17, 2022), report and recommendation

  8   adopted, 2022 WL 837195 (N.D. Tex. Mar. 21, 2022). This includes profile information

  9   “indicat[ing] [someone’s] employment as described [in] argument.” AGIS Software Dev. LLC v.

 10   Apple, Inc., 2018 WL 2721826, at *4 n.4 (E.D. Tex. June 6, 2018). Courts accordingly take

 11   judicial notice of social-media pages showing an individual’s employment. Id.; Young v. Bank of

 12   Am., N.A., 2014 WL 4202491, at *3 (S.D. Tex. Aug. 19, 2014); Travelhost Networks LLC v.

 13   Sentry Enters. Inc., 2015 WL 13742914, at *3 (N.D. Tex. Nov. 18, 2015).

 14         Here, the Court should judicially notice the “Biography” section of Attorney General

 15   Bonta’s X and Instagram pages, which are attached to the accompanying Declaration of Robert

 16   William Setrakian as Exhibit B, to the extent that they identify Attorney General Bonta as

 17   California’s Attorney General. Attorney General Bonta does not seek notice for the truth of this

 18   assertion, just that these social media pages list his employment as California’s Attorney General.

 19   ExxonMobil cites posts from both of those pages. Compl., Exs. 2–5.

 20   Dated: April 24, 2025                                      Respectfully submitted,
 21                                                              ROB BONTA
                                                                 Attorney General of California
 22                                                              R. MATTHEW WISE
                                                                 Supervising Deputy Attorney General
 23

 24

 25                                                              /s/ Robert William Setrakian
                                                                 WILL SETRAKIAN
 26                                                              Deputy Attorney General
                                                                 Attorneys for Defendant Attorney General
 27                                                              Rob Bonta
 28   SA2025300062
                                                            2
       Request for Judicial Notice in Support of Defendant Attorney General Rob Bonta’s Motion to Dismiss (1:25-cv-11-
                                                                                                                MJT)
